
Geeen, J.
delivered the opinion of the court.
This suit was brought before a justice of the peace, for the price of amule colt. The bill of exceptions shows, that Good-rum purchased from Smith a mule colt, for the price of forty dollars, which was to run with the dam five months. Smith offered to let Goodrum keep his mare with the colt, which Goodrum declined. It was then proposed by Smith, that the mare and colt should be put in the pasture of one Bynum, to which Goodrum assented. The mare and colt were accordingly placed in Bynum’s pasture, where the colt died before the expiration of the five months.
The question is, at whose risk the colt was placed by this contract, while it was in Bynum’s pasture.
In 2d Kent’s Com. 492, it is laid down that “when the terms of sale are agreed on, and the bargain is struck and every thing that the seller has to do with the goods is complete, the contract of sale becomes absolute, without actual payment or delivery, and the property, and the risk of accident to the goods, vest in the buyer.”
The same principle was decided by this court in the cases of Shaw vs. Smith, 9 Yerg. R. 97, and Potter vs. Coward, Meigs R. 22.
But in the present case, the colt was putin Bynum’s pasture by an arrangement between the parties to the contract, and was thereby actually delivered to Goodrum. So there is no question but that the sale was complete and he must bear the loss.
Let the judgment be affirmed.
